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JS44 (Rev. 10/2020 NDGA)                           CIVIL COVER SHEET
The JS44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as provided by
local rules of court. This form is required for the use of the Clerk of Court for the purpose of initiating the civil docket record. (SEE INSTRUCTIONS ATTACHED)


I. (a) PLAINTIFF(S)                                                                              DEFENDANT(S)
         SIXTH DISTRICT OF THE AFRICAN METHODIST                                                 BRIAN KEMP, Governor of the State of Georgia, BRAD
         EPISCOPAL CHURCH, a Georgia non-profit organization,                                    RAFFENSPERGER, Secretary of State of Georgia,
         GEORGIA MUSLIM VOTER PROJECT, a Georgia non-profit                                      GEORGIA STATE ELECTIONS BOARD, REBECCA
         organization, WOMEN WATCH AFRIKA, a Georgia non-profit                                  SULLIVAN, DAVID WORLEY, MATTHEW MASHBURN,
         organization, LATINO COMMUNITY FUND OF GEORGIA, a
         Georgia non-profit organization, DELTA SIGMA THETA                                      and ANH LEE, Members of the Georgia Elections Board, in
         INC., a Washington DC non-profit organization                                           their official capacities
                                                                                                 *ADDITIONAL DEFENDANTS LISTED IN EX. A
                                                                                                 ATTACHED
   (b) COUNTY OF RESIDENCE OF FIRST LISTED                                                     COUNTY OF RESIDENCE OF FIRST LISTED
        PLAINTIFF           FULTON COUNTY                                                      DEFENDANT
                          (EXCEPT IN U.S. PLAINTIFF CASES)                                                        (IN U.S. PLAINTIFF CASES ONLY)

                                                                                                 NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE TRACT OF LAND
                                                                                                 INVOLVED

  (c) ATTORNEYS (FIRM NAME, ADDRESS, TELEPHONE NUMBER, AND                                       ATTORNEYS (IF KNOWN)
                                   E-MAIL ADDRESS)
         *Attorneys for Plaintiffs listed in Ex. A attached.




II. BASIS OF JURISDICTION                                                     III. CITIZENSHIP OF PRINCIPAL PARTIES
      (PLACE AN “X” IN ONE BOX ONLY)                                                 (PLACE AN “X” IN ONE BOX FOR PLAINTIFF AND ONE BOX FOR DEFENDANT)
                                                                                                        (FOR DIVERSITY CASES ONLY)

                                                                              PLF      DEF                                 PLF      DEF

   1 U.S. GOVERNMENT          ✔ 3 FEDERAL QUESTION                           ✔ 1      ✔ 1 CITIZEN OF THIS STATE           ✔ 4          4    INCORPORATED OR PRINCIPAL
     PLAINTIFF                     (U.S. GOVERNMENT NOT A PARTY)                                                                            PLACE OF BUSINESS IN THIS STATE

   2 U.S. GOVERNMENT             4 DIVERSITY                                    2        2   CITIZEN OF ANOTHER STATE          5       5    INCORPORATED AND PRINCIPAL
     DEFENDANT                     (INDICATE CITIZENSHIP OF PARTIES                                                                         PLACE OF BUSINESS IN ANOTHER STATE
                                    IN ITEM III)
                                                                                3        3   CITIZEN OR SUBJECT OF A          6        6    FOREIGN NATION
                                                                                             FOREIGN COUNTRY


IV. ORIGIN (PLACE AN “X “IN ONE BOX ONLY)
                                                                                                        TRANSFERRED FROM              MULTIDISTRICT         APPEAL TO DISTRICT JUDGE
   ✔ 1 ORIGINAL            2 REMOVED FROM           3 REMANDED FROM            4 REINSTATED OR        5 ANOTHER DISTRICT            6 LITIGATION -        7 FROM MAGISTRATE JUDGE
        PROCEEDING           STATE COURT             APPELLATE COURT            REOPENED                  (Specify District)          TRANSFER              JUDGMENT


        MULTIDISTRICT
      8 LITIGATION -
        DIRECT FILE


V. CAUSE OF ACTIONJURISDICTIONAL
                   (CITE THE U.S. CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE - DO NOT CITE
                                    STATUTES UNLESS DIVERSITY)
     Violation of Section 2 of the Voting Rights Act (52 USC 10301); Equal Protection Violation of the 14th Amendment (U.S.
     Const. Amd. XIV and 42 USC 1983); Race Discrimination Violation of the 15th Amendment (U.S. Const. Amd. XV and 42
     USC 1983); Violation of the 1st and 14th Amendment Right to Vote (U.S. Const. Amds. I & XIV and 42 USC 1983);
     Violation of 1st Amendment Protected Speech and Expression (U.S. Const. Amd. I and 42 USC 1983).

(IF COMPLEX, CHECK REASON BELOW)
    ✔ 1. Unusually large number of parties.                                          6. Problems locating or preserving evidence
        2. Unusually large number of claims or defenses.                             7. Pending parallel investigations or actions by government.
        3. Factual issues are exceptionally complex                                  8. Multiple use of experts.
        4. Greater than normal volume of evidence.                                   9. Need for discovery outside United States boundaries.
        5. Extended discovery period is needed.                                     10. Existence of highly technical issues and proof.


                                                                        CONTINUED ON REVERSE
FOR OFFICE USE ONLY

RECEIPT #                           AMOUNT $                                         APPLYING IFP                        MAG. JUDGE (IFP) ______________________

JUDGE                               MAG. JUDGE                                       NATURE OF SUIT                       CAUSE OF ACTION______________________
                                                      (Referral)
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VI. NATURE OF SUIT (PLACE AN “X” IN ONE BOX ONLY)
CONTRACT - "0" MONTHS DISCOVERY TRACK              CIVIL RIGHTS - "4" MONTHS DISCOVERY TRACK               SOCIAL SECURITY - "0" MONTHS DISCOVERY
         150 RECOVERY OF OVERPAYMENT &                     440 OTHER CIVIL RIGHTS                          TRACK
              ENFORCEMENT OF JUDGMENT                  ✔   441 VOTING                                            861 HIA (1395ff)
         152 RECOVERY OF DEFAULTED STUDENT                 442 EMPLOYMENT                                        862 BLACK LUNG (923)
             LOANS (Excl. Veterans)                        443 HOUSING/ ACCOMMODATIONS                           863 DIWC (405(g))
         153 RECOVERY OF OVERPAYMENT OF                    445 AMERICANS with DISABILITIES - Employment          863 DIWW (405(g))
             VETERAN'S BENEFITS                            446 AMERICANS with DISABILITIES - Other               864 SSID TITLE XVI
                                                           448 EDUCATION                                         865 RSI (405(g))
CONTRACT - "4" MONTHS DISCOVERY TRACK
         110 INSURANCE                                                                                     FEDERAL TAX SUITS - "4" MONTHS DISCOVERY
         120 MARINE                                IMMIGRATION - "0" MONTHS DISCOVERY TRACK                TRACK
         130 MILLER ACT                                    462 NATURALIZATION APPLICATION                        870 TAXES (U.S. Plaintiff or Defendant)
         140 NEGOTIABLE INSTRUMENT                         465 OTHER IMMIGRATION ACTIONS                         871 IRS - THIRD PARTY 26 USC 7609
         151 MEDICARE ACT
         160 STOCKHOLDERS' SUITS                   PRISONER PETITIONS - "0" MONTHS DISCOVERY               OTHER STATUTES - "4" MONTHS DISCOVERY
         190 OTHER CONTRACT                        TRACK                                                   TRACK
         195 CONTRACT PRODUCT LIABILITY                    463 HABEAS CORPUS- Alien Detainee                     375 FALSE CLAIMS ACT
         196 FRANCHISE                                     510 MOTIONS TO VACATE SENTENCE                        376 Qui Tam 31 USC 3729(a)
                                                           530 HABEAS CORPUS                                     400 STATE REAPPORTIONMENT
REAL PROPERTY - "4" MONTHS DISCOVERY                       535 HABEAS CORPUS DEATH PENALTY                       430 BANKS AND BANKING
TRACK                                                      540 MANDAMUS & OTHER                                  450 COMMERCE/ICC RATES/ETC.
         210 LAND CONDEMNATION                             550 CIVIL RIGHTS - Filed Pro se                       460 DEPORTATION
         220 FORECLOSURE                                   555 PRISON CONDITION(S) - Filed Pro se                470 RACKETEER INFLUENCED AND CORRUPT
         230 RENT LEASE & EJECTMENT                        560 CIVIL DETAINEE: CONDITIONS OF                          ORGANIZATIONS
         240 TORTS TO LAND                                     CONFINEMENT                                       480 CONSUMER CREDIT
         245 TORT PRODUCT LIABILITY                                                                              485 TELEPHONE CONSUMER PROTECTION ACT
         290 ALL OTHER REAL PROPERTY               PRISONER PETITIONS - "4" MONTHS DISCOVERY                     490 CABLE/SATELLITE TV
                                                   TRACK                                                         890 OTHER STATUTORY ACTIONS
TORTS - PERSONAL INJURY - "4" MONTHS                       550 CIVIL RIGHTS - Filed by Counsel                   891 AGRICULTURAL ACTS
DISCOVERY TRACK                                            555 PRISON CONDITION(S) - Filed by Counsel            893 ENVIRONMENTAL MATTERS
         310 AIRPLANE                                                                                            895 FREEDOM OF INFORMATION ACT 899
         315 AIRPLANE PRODUCT LIABILITY            FORFEITURE/PENALTY - "4" MONTHS DISCOVERY                     899 ADMINISTRATIVE PROCEDURES ACT /
         320 ASSAULT, LIBEL & SLANDER              TRACK                                                             REVIEW OR APPEAL OF AGENCY DECISION
         330 FEDERAL EMPLOYERS' LIABILITY                  625 DRUG RELATED SEIZURE OF PROPERTY                  950 CONSTITUTIONALITY OF STATE STATUTES
         340 MARINE                                             21 USC 881
         345 MARINE PRODUCT LIABILITY                      690 OTHER
                                                                                                           OTHER STATUTES - "8" MONTHS DISCOVERY
         350 MOTOR VEHICLE
                                                                                                           TRACK
         355 MOTOR VEHICLE PRODUCT LIABILITY       LABOR - "4" MONTHS DISCOVERY TRACK
         360 OTHER PERSONAL INJURY                         710 FAIR LABOR STANDARDS ACT                          410 ANTITRUST
         362 PERSONAL INJURY - MEDICAL                     720 LABOR/MGMT. RELATIONS                             850 SECURITIES / COMMODITIES / EXCHANGE
             MALPRACTICE                                   740 RAILWAY LABOR ACT
         365 PERSONAL INJURY - PRODUCT LIABILITY           751 FAMILY and MEDICAL LEAVE ACT                OTHER STATUTES - “0" MONTHS DISCOVERY
         367 PERSONAL INJURY - HEALTH CARE/                790 OTHER LABOR LITIGATION                      TRACK
              PHARMACEUTICAL PRODUCT LIABILITY             791 EMPL. RET. INC. SECURITY ACT                      896 ARBITRATION
         368 ASBESTOS PERSONAL INJURY PRODUCT                                                                        (Confirm / Vacate / Order / Modify)
              LIABILITY                            PROPERTY RIGHTS - "4" MONTHS DISCOVERY
                                                   TRACK
TORTS - PERSONAL PROPERTY - "4" MONTHS                     820 COPYRIGHTS
DISCOVERY TRACK                                            840 TRADEMARK                                   * PLEASE NOTE DISCOVERY
                                                           880 DEFEND TRADE SECRETS ACT OF 2016 (DTSA)
         370 OTHER FRAUD
         371 TRUTH IN LENDING                                                                                TRACK FOR EACH CASE
         380 OTHER PERSONAL PROPERTY DAMAGE
         385 PROPERTY DAMAGE PRODUCT LIABILITY
                                                   PROPERTY RIGHTS - "8" MONTHS DISCOVERY                    TYPE. SEE LOCAL RULE 26.3
                                                   TRACK
BANKRUPTCY - "0" MONTHS DISCOVERY TRACK                    830 PATENT
         422 APPEAL 28 USC 158                             835 PATENT-ABBREVIATED NEW DRUG
                                                               APPLICATIONS (ANDA) - a/k/a
         423 WITHDRAWAL 28 USC 157
                                                               Hatch-Waxman cases




VII. REQUESTED IN COMPLAINT:
         CHECK IF CLASS ACTION UNDER F.R.Civ.P. 23            DEMAND $_____________________________
JURY DEMAND            YES    ✔   NO (CHECK YES ONLY IF DEMANDED IN COMPLAINT)


VIII. RELATED/REFILED CASE(S) IF ANY
                          Boulee
         JUDGE_______________________________                                          1:21-cv-01229-JPB
                                                                          DOCKET NO._______________________
CIVIL CASES ARE DEEMED RELATED IF THE PENDING CASE INVOLVES: (CHECK APPROPRIATE BOX)
         1. PROPERTY INCLUDED IN AN EARLIER NUMBERED PENDING SUIT.
     ✔   2. SAME ISSUE OF FACT OR ARISES OUT OF THE SAME EVENT OR TRANSACTION INCLUDED IN AN EARLIER NUMBERED PENDING SUIT.
         3. VALIDITY OR INFRINGEMENT OF THE SAME PATENT, COPYRIGHT OR TRADEMARK INCLUDED IN AN EARLIER NUMBERED PENDING SUIT.
         4. APPEALS ARISING OUT OF THE SAME BANKRUPTCY CASE AND ANY CASE RELATED THERETO WHICH HAVE BEEN DECIDED BY THE SAME
            BANKRUPTCY JUDGE.
         5. REPETITIVE CASES FILED BY PRO SE LITIGANTS.
         6. COMPANION OR RELATED CASE TO CASE(S) BEING SIMULTANEOUSLY FILED (INCLUDE ABBREVIATED STYLE OF OTHER CASE(S)):




         7. EITHER SAME OR ALL OF THE PARTIES AND ISSUES IN THIS CASE WERE PREVIOUSLY INVOLVED IN CASE NO.                                         , WHICH WAS
            DISMISSED. This case IS     IS NOT (check one box) SUBSTANTIALLY THE SAME CASE.




 SIGNATURE OF ATTORNEY OF RECORD                                                                    DATE
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                                   EXHIBIT A
The defendants sued in this action are as follows:

      BRIAN KEMP, Governor of the State of Georgia, in his official capacity,
      BRAD RAFFENSPERGER, Secretary of State of Georgia, in his official
      capacity, GEORGIA STATE ELECTIONS BOARD, REBECCA
      SULLIVAN, DAVID WORLEY, MATTHEW MASHBURN, and ANH
      LEE, Members of the Georgia State Elections Board, in their official
      capacities, FULTON COUNTY REGISTRATION AND ELECTIONS
      BOARD, ALEX WAN, MARK WINGATE, KATHLEEN D. RUTH,
      VERNETTA K. NURIDDIN, and AARON V. JOHNSON, Members of the
      Fulton County Registration and Elections Board, in their official capacities,
      RICHARD L. BARRON, Director of the Fulton County Registrations and
      Elections board, in his official capacity, DEKALB COUNTY BOARD OF
      REGISTRATIONS AND ELECTIONS, ANTHONY LEWIS, SUSAN
      MOTTER, DELE L. SMITH, SAMUEL E. TILLMAN, and BAOKY N.
      VU, Members of the DeKalb County Board of Registrations and Elections,
      in their official capacities, GWINNETT COUNTY BOARD OF
      REGISTRATIONS AND ELECTIONS, ALICE O’LENICK, WANDY
      TAYLOR, STEPHEN W. DAY, JOHN MANGANO, GEORGE AWUKU,
      and SANTIAGO MARQUEZ, Members of the Gwinnett County Board of
      Registrations and Elections, in their official capacities, LYNN LEDFORD,
      Director of the Gwinnett County Board of Registrations and Elections, in her
      official capacity, COBB COUNTY BOARD OF ELECTIONS AND
      REGISTRATION, PHIL DANIELL, FRED AIKEN, PAT GARTLAND,
      JESSICA M. BROOKS, and DARYL O. WILSON, JR., Members of the
      Cobb County Board of Elections and Registration, in their official
      capacities, JANINE EVELER, Director of the Cobb County Board of
      Elections and Registration, in her official capacity, HALL COUNTY
      BOARD OF ELECTIONS AND REGISTRATION, TOM SMILEY,
      DAVID KENNEDY, KEN COCHRAN, CRAIG LUTZ, and GALA
      SHEATS, Members of the Hall County Board of Elections and Registration,
      in their official capacities, LORI WURTZ, Director of Hall County
      Elections, in her official capacity, CLAYTON COUNTY BOARD OF
      ELECTIONS AND REGISTRATION, DARLENE JOHNSON, DIANE
      GIVENS, CAROL WESLEY, DOROTHY F. HALL, and PATRICIA
      PULLAR, Members of the Clayton County Board of Elections and
      Registration, in their official capacities, SHAUNA DOZIER, Clayton
      County Elections Director, in her official capacity, RICHMOND COUNTY
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      BOARD OF ELECTIONS, TIM MCFALLS, SHERRY T. BARNES,
      MARCIA BROWN, TERENCE DICKS, and BOB FINNEGAN, Members
      of the Richmond County Board of Elections, in their official capacities,
      LYNN BAILEY, Richmond County Elections Director, in her official
      capacity, BIBB COUNTY BOARD OF ELECTIONS, MIKE KAPLAN,
      HERBERT SPANGLER, RINDA WILSON, HENRY FICKLIN, and
      CASSANDRA POWELL, Members of the Bibb County Board of Elections,
      in their official capacities, and JEANETTA R. WATSON, Bibb County
      Elections Supervisor, in her official capacity.

Plaintiffs are represented by the following counsel:
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